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                7
                8                        UNITED STATES DISTRICT COURT
                9         CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
               10
               11 MITRA RICHTER,                               Case No. 8:20-cv-00396-JVS-ADS
               12               Plaintiff,                     JUDGMENT
               13         v.                                   Judge:    Hon. James V. Selna
                                                               Date:     October 4, 2021
               14 T-MOBILE USA, INC., and DOES 1-              Time:     3:00 p.m.
                  50, inclusive,                               Crtrm.:   10C
               15
                               Defendants.                     Action File: February 27, 2020
               16                                              Trial Date: February 15, 2022
               17         The Court, having considered the pleadings, moving and opposition papers,
               18 and all other matters presented and accepted by the Court, granted Defendant T-
               19 Mobile USA, Inc.’s (“T-Mobile”) motion for summary judgment based on its
               20 finding that there were no triable issues of material fact as to the causes of action
               21 alleged by Plaintiff Mitra Richter (“Richter”) alleged against T-Mobile, as outlined
               22 in the Court’s October 4, 2021 Order (ECF 40).
               23         IT IS HEREBY ORDERED, ADJUDGED AND DECREED that:
               24         1.    Judgment is hereby entered in favor of T-Mobile and against Richter.
               25 Accordingly, this action is dismissed in its entirety, with prejudice.
               26 / / /
               27 / / /
               28 / / /

                                                              -1-                 Case No. 8:20-cv-00396-JVS-ADS
17914234.1                                           [PROPOSED] JUDGMENT
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                1        2.     Richter shall take nothing from T-Mobile, and T-Mobile shall recover
                2 from Richter costs of suit in this action.
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                5   Dated: October 29, 2021
                                                                     Hon. James V. Selna
                6
                                                                     Judge, United States District Court
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17914234.1                                           [PROPOSED] JUDGMENT
